Case 19-50961-JKS Doc 38 _ Filed 08/21/23 Page 1 of 6

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE E C [E W E
aug 212023 {UI
MICHAEL GOLDBERG, In His Capacity As _ .
Liquidating Trustee of the WOODBRIDGE By DF LOW 5¢
LIQUIDATION TRUST, (buYr
Adversary Proceeding
Plaintiff Case No. 19-50961 (BLS)
Vs.

DARIN BAKER,

Defendant

SECURED PARTY’S STATEMENT
OF RIGHT OR INTEREST
WITH ATTACHED SECURITY
IN RE: AFORESAID RESPONDENT

I, the undersigned Darin-Duane: Baker-El (hereinafter referred to as Secured Party
Creditor/Holder-In-Due-Course), Authorized Representative of the above-named Respondent(s):
DARIN BAKER©, hereinafter referred to as (DEBTOR), being of majority in age, and legally
competent, state absolutely:

1. That, Secured Party Creditor/Holder-In-Due-Course, has first-hand knowledge of the
facts stated herein, and;

2. That, the Secured Party Creditor/Holder-In-Due-Course has established a perfected
security interest via SECURITY AGREEMENT # SA-453516-DDB, depicting aforesaid
Respondent as DEBTOR, irrevocably declaring Power of Attorney (See attached
POWER OF ATTORNEY # POA-453516-DDB) herein, as Secured Party
Creditor/Holder-In-Due-Course (See attached UCC-1 Financing Statement #
U220167448939), duly filed with the CALIFORNIA SECRETARY OF STATE on
February 24, 2022, and;

3. That, Secured Party Creditor/Holder-In-Due-Course reserves any and all Rights, Title and
Interest concerning DEBTOR/Defendant and now has exclusive unconditional superior
priority and absolute authority over any and all aspects of the DEBTOR/Defendant, via
binding contract of the parties in force, and;

4. That, Secured Party Creditor/Holder-In-Due-Course on behalf of DEBTOR/Defendant
answers/accepts for value per Emergency Banking Relief Act of 1933, codified at 31

Secured Party’s Statement with Security Page 1/4
In re: Chapter 11 Case No. 17-12560 (BLS)
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USC § 5118 (d) (2) and Public Law 73-10, and any and all judgments entered by this
Honorable Court, in re: Case Number 17-12560(BLS), and thereby tenders in payment in
support thereof the attached “Security,” being a Registered “General Bond,” to cover any
and all fees and costs in the aforesaid civil action; and for the release of the
DEBTOR/Respondent and all real and personal property thereof (See e.g. FEDERAL
RULES OF CIVIL PROCEDURE, Rule E (5) (b), (General Bond).

ACKNOWLEDGEMENT
I verify, under the penalty of perjury that the foregoing is true and correct, per 28 USC §
1746 (2).

Executed this F day of Ph ugust 2023.

Without Prejudice (UCC 1-308)

\

arin-Duane: Baker-E1,
Holder-In-Due-Course
Authorized Representative

County of los hoy AS )

) Scilicet

Colornin state )

SUBSCRIBED TO AND SWORN before me this A day of wus) | AD.
7

2023, a Notary, that Darin-Duane: Baker-El, personally appeared and known to me to be the
person yoy subscribed to the within instrument and acknowledged to be the same.

Seal:
Notary Pubtic

My Commission expires \oloK 2025

Secured Party’s Statement with Security Page 2/4
In re: Chapter 11 Case No. 17-12560 (BLS)
Case 19-50961-JKS Doc 38 Filed 08/21/23 Page 3 of 6

CALIFORNIA JURAT GOVERNMENT CODE § 8202

A notary public or other officer completing this certificate verifies only the identity of the individual who signed
the document to which this certificate Is attached, and not the truthfulness, accuracy, or validity of that document.

State of California ‘

County of los fngsles __

Subscribed and sworn to (or affirmed) before me on

this. A aay of Auoss s+ 20.73, by
Date nth Year

Donn Doomed Raer-E

(and (2) )
Name(s) of Signer(s)

re KASSANDRA ARTEAGA ,
\ Notary Public - California
- Los Angeles County z

Commission # 23779123
My Comm. Expires Oct 8, 2025

proved to me on the basis of satisfactory evidence to
be the person(s) who appeared before me.

sone HS —

Signature of Notary Public

Place Notary Seal and/or Stamp Above

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Completing this information can deter alteration of the document or
fraudulent reattachment of this form to an unintended document.

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Document Date: Number of Pages:

Signer(s) Other Than Named Above:

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

MICHAEL GOLDBERG, In His Capacity As
Liquidating Trustee of the WOODBRIDGE Adversary Proceeding
LIQUIDATION TRUST, Case No. 19-50961 (BLS)

Plaintiff
GENERAL BOND, in accordance
Vs. with Supplemental Rules of
Admiralty Rule E (5) (b)

DARIN BAKER,

Registration No.: RR0O55151169US
Defendant

GENERAL BOND

I, Darin-Duane: Baker-El, Principal, Secured Party Creditor, Holder-In-Due-Course and
Authorized Representative of the DEBTOR, DARIN BAKER©, Defendant, Public Vessel,
initiate and undertake the follow; In consideration thereof, that I have suffered dishonor
regarding the matter of MICHAEL GOLDBERG, in his capacity as LIQUIDATING TRUSTEE
of the WOOBRIDGE LIQUIDATION TRUST, Plaintiff v. DARIN BAKER©; Defendant,
Chapter 11 Case Number 17-12560 (BLS), Adversary Proceeding Case No. 19-50961 (BLS),
herewith this registered bond, underwrite with my private exemption any and all values in
consideration, obligations of performance, losses and costs sustained by the U.S.
BANKRUPTCY COURT of the DISTRICT of DELAWARE and the respectful citizens thereof
regarding said matter. The above court is hereby, herewith this Registered GENERAL BOND,
authorized to secure an amount double the aggregate amount claimed by the plaintiff(s) in
accordance with the Supplemental Rules of Admiralty, Rule E (5) (b), as I Darin-Duane: Baker-
El, accept for value and consideration all related endorsements, front and back, in accord with
UCC 3-419 and EXEMPT FROM LEVY as evidenced with this bond. The life of this bond
commences from the date entered below and is provided in good faith and shall serve as
subrogation and requires the immediate stay of the Action/Process In Rem and release of all

Secured Party’s Statement with Security Page 3/4
In re: Chapter 11 Case No. 17-12560 (BLS)
Case 19-50961-JKS Doc 38 Filed 08/21/23 Page 5of6

chattel property, personal and real property belonging to the Trust (STRAWMANO, DEBTOR),
and obligations of performance required by such claims.

Notwithstanding, the total amount of this bond is any amount, $862,945.24, U.S. Currency. The
actual value and consideration shall be stipulated and determined by the above court, as the
undersigned Principal accepts for value and consideration any such determinations by the above
court in return for full settlkement and closure of the case/account(s), and immediate
restoration/release of all property and the order of the court, as I, Darin-Duane: Baker-El,
Secured Party Creditor/Holder-In-Due-Course shall underwrite all costs with my private
exemption: (19-50961 (BLS) CUSIP & AutoTRIS 303841423, as the account is PRE-PAID and
EXEMPT FROM LEVY.

Dated this 6th day of August 2023.
Without Prejudice OEE a) and (UCC 1-103)
. Soeld 2-6 Z

Darin-Duane: Baker-El, Secured Party Creditor
Holder-In-Due-Course
Authorized Representative

County of | 0) Pyne )

) Scilicet

Ai\shocviin state )

SUBSCRIBED TO AND SWORN before me this day of usyuosh , A.D.

2023, a Notary, that Darin-Duane: Baker-El, personally appeared and known to me to be the
person typese-agme subscribed to the within instrument and acknowledged to be the same.
Seal:

Notary Public

My Commission expires lojox) Ww

Secured Party’s Statement with Security Page 4/4
In re: Chapter 11 Case No. 17-12560 (BLS)

Case 19-50961-JKS Doc 38 Filed 08/21/23 Page 6 of 6

CALIFORNIA JURAT

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State of California (

County of Los Proyeles

KASSANDRA ARTEAGA
Notary Public - California
Los Angeles County
£5 Commission # 2377913
=" my Comm. Expires Oct 8, 2025

Place Notary Seal and/or Stamp Above

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Description of Attached Document

Title or Type of Document:

Completing this information can deter alteration of the document or
fraudulent reattachment of this form to an unintended document.

Subscribed and sworn to (or affirmed) before me on

inis_4 day of foouss 20.23, by

Date Month Year

w Doin Doone Baler- Et

(and (2) ),
Name(s) of Signer(s)

proved to me on the basis of satisfactory evidence to
be the person(s) who appeared before me.

‘ I
ome Or

Signature of Notary Public

Document Date:

Number of Pages:

Signer(s) Other Than Named Above:

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